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                                  Rahmat Loghmanieh
             (Address and Phone Number Deleted by Defense Counsel)

September 26, 2021


To Whom It May Concern:

I am a 71 year old honorably discharged Veteran of the Vietnam War era. I am a retired
Architect and sole proprietor of a Jewelry Store in the Village of Williamsville, New York.

Mr. Thomas Sibick and I have known each other for over eight years. We met at my jewelry
store when Thomas was ready to get engaged and settle into his beautiful condominium in
Williamsville, New York.

Clearly Mr. Sibick’s appearance and demeanor was noticeable and an indication of a successful
businessman who was ready to be a responsible and respected member of his generation and
contribute in many positive ways to society.

Needless to say, the presence of his character and his appealing personality could not go
unnoticed!

Mr. Sibick, is a fine gentleman with fantastic attributes and deserves great rewards in his future.

Thomas and I, have become wonderful friends since the very beginning and I am looking
forward to maintaining this friendship for many years to come. I have also gotten to know his
family, to include his brothers and parents who are very supportive of each other.

Sincerely,
Rahmat Loghmanieh
Rahmat Loghmanieh
